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MEMORANDUM OPINION

Nos. 04-10-00133-CR &amp; 04-10-00134-CR

Frank TORRES,
Appellant

v.

The STATE of Texas,
Appellee

From the 186th Judicial District Court, Bexar County, Texas
Trial Court Nos. 1996CR0616 &amp; 2003CR6882
Honorable Pat Priest, Judge Presiding

PER CURIAM
&nbsp;
Sitting: &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Catherine Stone, Chief Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Karen Angelini, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sandee Bryan Marion, Justice

Delivered and Filed: March 3, 2010

DISMISSED
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Frank Torres filed notices of appeal in each of the underlying causes seeking to appeal the
trial court’s judgments that imposed twenty-year concurrent sentences on August 4, 2008.  In appeal
number 04-10-00134-CR, the judgment was in accordance with Torres’s plea bargain agreement,
and the record does not contain a trial court’s certification showing Torres has the right of appeal. 
Accordingly, appeal number 04-10-00134-CR is dismissed.  See Tex. R. App. P. 25.2(d).  
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In appeal number 04-10-00133-CR, the notice of appeal was required to be filed by
September 3, 2008; however, the notice of appeal was not filed in the trial court until January 25,
2010.  This court lacks jurisdiction over an appeal of a criminal conviction in the absence of a timely,
written notice of appeal.  See Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996); see also
Ater v. Eighth Court of Appeals, 802 S.W.2d 241 (Tex. Crim. App. 1991) (out-of-time appeal from
final felony conviction may be sought by filing a writ of habeas corpus pursuant to article 11.07 of
the Texas Code of Criminal Procedure); Apt v. State, No. 04-03-00885-CR, 2004 WL 730832, at *1
(Tex. App.—San Antonio Apr. 7, 2004, no pet.) (unlike rule in civil cases, notice of appeal filed with
appellate court in criminal case is not deemed filed the same day with the trial court clerk) (not
designated for publication).  Accordingly, appeal number 04-10-00133-CR is dismissed for lack of
jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM
DO NOT PUBLISH


